  Case 1:14-cv-00669-KG-GBW Document 11 Filed 01/26/15 Page 1 of 2



              IN THE UNITED STATES DISTRICT COURT

                FOR THE DISTRICT OF NEW MEXICO


RICHARD and VIOLET FLORES,

           Plaintiffs,
vs.                                No. 2014-cv-00669-KG-GBW

UNITED STATES OF AMERICA,

           Defendant.



                    STIPULATION OF DISMISSAL


      COME NOW Plaintiffs and Defendant, by and through

counsel of record, pursuant to Fed.R.Civ.Pro.

41(a)(1)(A)(ii), and stipulate to dismissal of this cause,

in its entirety, and state:

      1.   The Plaintiffs filed their Complaint July 25,

2014; process was timely served; the Government filed its

timely Motion to Dismiss on December 24, 2014; time to

respond to that motion was extended (unopposed) on January

5, 2015, to and until January 28, 2015, for good cause,

which consisted mainly of considering this dismissal.

      2.   The Plaintiffs have agreed that the timeliness of

this suit will likely fail, and the matter would likely be

dismissed eventually for reasons related to the applicable

statutes of limitations.
  Case 1:14-cv-00669-KG-GBW Document 11 Filed 01/26/15 Page 2 of 2




     WHEREFORE, the Plaintiffs, individually and jointly,

along with the Government’s attorney, agree to Dismissal of

this action WITH PREJUDICE, in its entirety.

SUBMITTED BY:

/s/ Richard Flores 01/26/2015
______________________________
RICHARD FLORES


/s/ Violet L. Flores 01/26/15
______________________________
VIOLET FLORES

For Defendant USA:

Approved by telephone 1/26/15
______________________________
RUTH F. KEEGAN, AUSA

Submitted by:                      Electronically filed:

                                   William A. L’Esperance
                                   ________________________
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                                - 2 -
